 

Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 1 of 7 PagelD: 1

&4 ORIGINAL

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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UNITED STATES OF AMERICA ; Criminal No. 05- 772 CTE)
v. 18 U.S.C. §§ 1343 & 2

INTERACTIVE LOGISTICS, INC., . INFORMATION
d/b/a

NFI INTERACTIVE LOGISTICS, INC.

The defendant Interactive Logistics, Ine., d/b/a NFI
Interactive Logistics, Inc. ("NFI Interactive”), having waived in
open court prosecution by Indictment, the United States Attorney
for the District of New Jersey charges that:

COUNTS 1 - 3
(Wire Fraud)

THE DEFENDANT AND THE VICTIM
1. At all times material to the allegations contained
in this Information:

a, Defendant Interactive Logistics, Inc., was
incorporated under the laws of the State of Delaware, and was
registered to do business as NFI Interactive Logistics, Inc.,
with the State of New Jersey. NFI Interactive maintained its
corporate headquarters in Vineland and Cherry Hill, New Jersey.
NFI Interactive was a transportation company that provided
shipping services, including transportation management, dedicated

transportation and warehousing services.
 

Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 2 of 7 PagelD: 2

b. AB was a manufacturer of alcoholic beverages,
including Budweiser beers, and non-alcoholic beverages, AB was
incorporated under the laws of the State of Missouri, and
maintained its principal place of business in St. Louis,
Missourl. AB operated a brewery in Newark, New Jersey.

THE PARTIES’ CONTRACTUAL AGREEMENTS

2. On or about September 1, 2000, AB and NFI
Interactive entered into a series of contracts in which NFI
Interactive agreed to provide AB with transportation and
logistics management and brokerage gervices, and transportation
and shipping services. In one of these contacts, NFI Interactive
agreed to transport AB’s products from, among other facilities,
AB's brewery located in Newark, New Jersey, to various locations
in the Northeastern United States ("the Transportation
Agreement”). The Transportation Agreement took effect on
September 1, 2000, for a term of 3 years ending on August 31,
2003.

3. The Transportation Agreement required NFI
Interactive to, among other things, provide AB with tractors and
equipment for pickup and delivery of AB’s products from AB‘s
Newark facility to various other locations. NFI Interactive
agreed to purchase specialized equipment, namely, tractors and
trailers, exclusively dedicated to hauling AB‘s products (the

“Dedicated Equipment”). In exchange, AB promised to pay to NFI
 

Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 3 of 7 PagelD: 3

Interactive a fixed weekly rate for each piece of Dedicated
Equipment purchased by NFI Interactive undér the Transportation
Agreement. The Transportation Aqreement also required AB to pay
NFI Interactive a fixed rate for every mile driven by NFI
Interactive while hauling AB’s products utilizing the Dedicated
Equipment .

4, The Transportation Agreement also required NFI
Interactive to enter into agreements with third-parties to
“backhaul other shippers’ loads” (the “Backhaul Clause”). Under
the Backhaul Clause, NFI Interactive contracted to use the
Dedicated Equipment to haul certain approved third-parties’ loads
when AB was not using, or was underutilizing, the Dedicated
Equipment.

5. Pursuant to the Backhaul Clause, NFI Interactive
agreed that: (1) the first $500,000 of revenue generated by NFI
Interactive utilizing the Dedicated Equipment would be shared 80%
to AB, and 20% to NFI Interactive; and (2) all additional
backhaul revenue greater than the $500,000 would be split 75% to
AB, and 25% to NFI Interactive. In addition, NFI Interactive
guaranteed AB a minimum of $500,000 in backhaul revenue, or,
pursuant to the above-split, $400,000, for each year of the

contract (the “Minimum Guarantee”),
Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 4 of 7 PagelD: 4

6. On or about December 1, 2001, NFI Interactive and
AB renegotiated and amended the Backhaul Clause. Pursuant to the
Amended Backhaul Clause, the parties agreed that AB would receive
80% of the first $750,000 of backhaul revenue generated by NFI
Interactive, and that NFI Interactive would receive the remaining
20%. The parties also agreed that AB and NFI would split
backhaul revenue generated above $750,000, 75%/25%, respectively.
In addition, NFI Interactive guaranteed AB $750,000 in backhaul
revenue, or pursuant to the above split, $600,000, for each year
of the contract (the “Amended Minimum Guarantee”).

THE SCHEME TO DEFRAUD

7. From in or about December 2001 through on or about
May 11, 2004, in Camden County, in the District of New Jersey and
elsewhere, defendant

INTERACTIVE LOGISTICS, INC.,
d/b/a NFI INTERACTIVE LOGISTICS, INC.,

knowingly and willfully devised, and intended to devise, a scheme
and artifice to defraud and to obtain money and property Irom AB,
by means of materially false and fraudulent pretenses,
representations and promises, and for the purpose of executing
such scheme and artifice to defraud, knowingly and wilfully
transmitted fraudulent invoices to AB by interstate wire that
falsely understated the amounts owed to AB under the
Transportation Agreement, the Backhaul Clause and Amended

Backhaul Clause.
 

 

Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 5 of 7 PagelD: 5

THE OBJECT OF THE SCHEME

a. The principal object of the scheme was for NFI
Interactive to fraudulently withhold backhaul revenue covered by
the Backhaul Clause and the Amended Backhaul Clause of the
Transportation Agreement after meeting the Minimum Guarantee and
the Amended Minimum Guarantee. NFI Interactive did so by falsely
underreporting te AB the amount of such revenue generated by it
while utilizing the Dedicated Equipment.

MEANS AND METHODS OF THE SCHEME

a. Tt was part of the scheme that NFI Interactive's
senior executives directed the managers of the AB account to
Formulate and implement a sacheme to withhold backhaul revenue
generated by NFI Interactive utilizing the Dedicated Equipment
that exceeded the Minimum Guarantee and the Amended Minimum
Guarantee,

10. Tt was further part of the scheme that NFI
Interactive’s managers implemented the senior executives’
directives by setting up a separate method of accounting called
“the spreadsheet” for backhaul revenue not reported to AB.

11. It was further part of the scheme that NFI
Interactive's managers specifically selected trips to place on
“the spreadsheet” (and thereby were not reported to AB) that were
uniikely to be detected by AB. Typically, they selected trips
that did not have a scheduled return trip, commonly known as

“one-way trips.”

 
 

Case 1:05-cr-00872-JEI Document1 Filed 12/08/05 Page 6 of 7 PagelD: 6

12. It was further part of the scheme that NFI
Interactive’s managers and accountants manipulated the amount of
backhaul revenue reported to AB on a weekly basis in order to
conceal the actual amount of backhaul revenue generated during a
particular week and to create the illusion that NFI Interactive
was only generating enough backhaul revenue to meet, but not
exceed, the Minimum Guarantee and the Amended Minimum Guarantee.

13. It was further part of the scheme that NFI
Interactive’s managers transmitted or caused others to transmit
electronic invoices utilizing the interstate wires from NFI
Interactive’s headquarters located in Vineland, New Jersey, to
AB’s headquarters located in St. Louis, Missouri, which falsely
underreported the amount of Backhaul Revenue generated by NFI
Interactive’s use of the Dedicated Equipment

14, By the above means, defendant NFI Interactive
defrauded AB of approximately $225,000.

ACTS IN FURTHERANCE OF THE SCHEME

 

 

 

 

Count Item Sent | Date Origination Dest ination |
1 Invoice 07/19/03 New Jersey Missouri
2 Invoice 07/26/03 New Jersey Missouri
3 Invoice 08/09/03 New Jersey Missouri

 

 

 

 

 

 

All in violation of Title 18, United States Code,
Section 1343 and 2.
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CHRISTOPHER J. CHRISTIE
United States Attorney

 

 
 

 

Document 1 Filed 12/08/05 Page 7 of 7 PagelD: 7

Case 1:05-cr-00872-JEI

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